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                      UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES--GENERAL


Case No. CV 19-9741-FMO (JPR)                  Date: November 22, 2019
Title: Jorge Mendoza v. Uber Technologies Inc.
============================================================
DOCKET ENTRY: Order re Service of Complaint
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PRESENT:
                   HON. JEAN P. ROSENBLUTH, U.S. MAGISTRATE JUDGE
                          Bea Martinez                            n/a
                          Deputy Clerk                      Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                     ATTORNEYS PRESENT FOR DEFENDANT:
      None present                                                None present

PROCEEDINGS: (IN CHAMBERS)

       This case has been referred to U.S. Magistrate Judge Jean Rosenbluth. Under
Rule 4(m) of the Federal Rules of Civil Procedure, service of the summons and
complaint generally must be accomplished on each named defendant within 90 days
of the complaint’s filing. No later than one week after that 90-day period has expired,
Plaintiff must file a separate proof of service for each defendant served within the 90-
day period.1 Plaintiff is cautioned that his/her failure to effect proper service by
the expiration of the 90-day period may result in dismissal of the action without
prejudice as to any unserved defendant(s) unless Plaintiff can show good cause
for extending the time for service.

     Plaintiff is further advised of the following requirements for preparing and
submitting documents in this case:

      1.     All future documents submitted in this case should be addressed to:
             Clerk, Roybal Courthouse, 255 E. Temple St., Los Angeles, CA 90012.

      2.     Each document submitted must bear the above title and case number.

      1
       Proof-of-service forms (POS-010 and CV-40) are available on the court’s
website: www.cacd.uscourts.gov.
MINUTES FORM 11                                               Initials of Deputy Clerk:bm
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             Each document should have at least a one-inch margin at the top of each
             page and should be printed or handwritten clearly, on one side of the
             paper only. If Plaintiff handwrites, he or she must do so using an ink,
             not pencil, sufficiently dark so that it can be photocopied clearly.

      3.     Plaintiff is advised to keep a copy of any document sent to the Court. If
             Plaintiff wants the Court to send back a conformed copy (stamped with
             the filing date), Plaintiff must include an extra copy (or an extra copy of
             just the first page of the document) with the original submitted for filing.
             The original should be clearly marked “Original.”

      4.     Once defendant(s) have been served with the complaint and summons,
             Plaintiff must mail a copy of every new document submitted to the Court
             for filing to defendant(s) or, if defendant(s) are represented by counsel,
             to defense counsel (at the address given on court orders or on defense
             filings). Plaintiff must attach to each new document submitted for filing
             a “proof of service” stating, under penalty of perjury, that a copy of the
             document was mailed to defendant(s) or, if defendant(s) are represented
             by counsel, to defense counsel, and when it was mailed. Any document
             submitted to the Court without a proof of service may be returned to the
             submitting party without consideration by the Court.

      5.     At the top of the first page of any document submitted for filing,
             Plaintiff must give his or her name, mailing address, and email address,
             if any, including any prisoner number or other identification number
             along with any other information required for mail to be delivered to
             Plaintiff. The Court will presume that the address given by Plaintiff is
             correct and will continue to use it until otherwise informed. As long as
             this action is pending, Plaintiff must immediately notify the Court and
             defendant(s) or defense counsel of any change of address, and of the new
             address and its effective date. Plaintiff is cautioned that if he or she fails

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             to keep the Court informed of the correct mailing address, this action
             may be dismissed under Local Rule 41-6, which provides as follows:

                   A party proceeding pro se shall keep the Court and
                   opposing parties apprised of such party’s current address
                   and telephone number, if any, and e-mail address, if any.
                   If mail directed by the Clerk to a pro se plaintiff’s address
                   of record is returned undelivered by the Postal Service, and
                   if, within fifteen (15) days of the service date, such plaintiff
                   fails to notify, in writing, the Court and opposing parties of
                   said plaintiff’s current address, the Court may dismiss the
                   action with or without prejudice for want of prosecution.

      6.     Plaintiff is cautioned that Local Rule 83-2.5 prohibits parties from
             writing letters to the Court, and Plaintiff is directed not to do so. All
             matters must be called to the Court’s attention by appropriate
             application or motion filed in compliance with the above-stated
             requirements and the Local Rules.

       Plaintiff is also advised that there are now three federal “pro se” clinics in
this district. The clinics offer on-site information and guidance to individuals who
are representing themselves (proceeding pro se) in federal civil actions. The
clinics are administered by nonprofit law firms, not the Court. The clinic closest to
Plaintiff is located in Suite 170 of the Edward R. Roybal Federal Building and U.S.
Courthouse, 255 East Temple Street, Los Angeles, California 90012. It is open by
appointment only on Mondays, Wednesdays, and Fridays, 9:30 a.m. to 12 p.m. and
2 to 4 p.m. To make an appointment Plaintiff should call (213) 385-2977,
extension 270; useful information is also available on the clinics’ website,
http://prose.cacd.uscourts.gov.



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